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                                                                            U.S. DISTRICT CeURT
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              AARON MCCLENDON,

                             Movant.                             CIVIL ACTION NO.: 2:17-cv-136


                      V,



              UNITED STATES OF AMERICA,

                             Respondent.



                                                    ORDER


                     After an independent and de novo review of the entire record,

              the    Court    concurs       with   the   Magistrate   Judge's      recommended

              disposition in this case.             Dkt. No. 7.       The Magistrate Judge

              recommended       Movant     Aaron   McClendon's   (^^McClendon")     motion     to

              vacate, set aside, or correct his sentence under 28 U.S.C. § 2255

              be    dismissed    based     on   McClendon's failure to     respond to this

              Court's Order, failure to respond to the Government's response to

              his § 2255 motion, and failure to               prosecute.     Id.       Although

              McClendon did file a reply to the Government's response, his reply

              was filed the same day the Magistrate Judge issued his Report and

              Recommendation and was signed almost a week after the provided

              deadline.      See Dkt. No. 6 (giving McClendon 21 days from February



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              8, 2018 to file a response to the Government's response).                     The

              Court accepts McClendon's untimely response but finds McClendon's

              §    2255   motion   is   nevertheless   due   to    be   dismissed   based    on

              McClendon's failure to follow a different Court Order and for not

              updating his address.^

                      In the Court's November i5, 2017 Order, McClendon was directed

              to inform this Court in writing of any change of address and was

              forewarned his failure to do so would result in the dismissal of

              his cause of action.       Dkt. No. 3, p. 1.        When McClendon's case was

              reassigned to another Magistrate Judge and when the Court imposed

              a stay in proceedings due to a lapse in federal appropriations and

              then lifted that stay, the Court sent these Orders to McClendon at

              his last known address.        Each of these documents was returned to

              the Court as undeliverable because McClendon was not at the address

              he provided.      Dkt. Nos. 9, 11, 13.

                      Accordingly, the Court ADOPTS the Magistrate Judge's Report

              and Recommendation, as supplemented herein, as the opinion of the

              Court, DISMISSES without prejudice McClendon's 28 U.S.C. § 2255

              Motion based on his failure to follow a Court Order, and DIRECTS

              the Clerk of Court to CLOSE this case and enter the appropriate




              ^    Indeed, the Court has reviewed McClendon's Reply to the Government's
              Response to his § 2255 Motion. Dkt. No. 8. McClendon offers little
              more than a shortened restatement of his original Motion and fails to
              counter the Government's Response. Id. McClendon's § 2255 Motion would
              be subject to denial, if the Court had entertained the relative merits
              of his Motion.




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              judgment of dismissal.       The    Court DENIES McClendon in forma

              pauperis status on appeal and a Certificate of Appealability.

                   SO ORDERED, this        ^ J day of                        , 2019.




                                                 LISA GODBEY WOOD, JUDGE
                                                   STATES DISTRICT COURT
                                                 ERN   DISTRICT OF GEORGIA




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